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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        §
                                                §
       v.                                       §        CRIMINAL NO. 1:21-CR-00060-CKK
                                                §
JESUS D. RIVERA                                 §


                               APPEARANCE OF COUNSEL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, Defendant’s Counsel and files this appearance as counsel on behalf of

Defendant. This counsel is admitted to the U.S. District Court for the District of Columbia and is

a member in good standing of the State Bar of Texas.

       WHEREFORE, premises considered, Defense Counsel very respectfully requests that This

Honorable Court accept this Appearance As Counsel.




                                                    Very respectfully,

                                                    /S/ Guy L. Womack

                                                    Guy L. Womack
                                                    Counsel for Defendant
                                                    Texas Bar No. 00788928
                                                    609 Heights Blvd.
                                                    Houston, Texas 77007
                                                    Tel: (713) 224-8815
                                                    Fax: (713) 224-8812
                                                    Guy.Womack@USA.net
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                                 CERTIFICATE OF SERVICE

      The undersigned certifies that a true and correct copy of the foregoing was served upon the
Government Counsel by CM/ECF on this 4th day of March, 2021.

                                                    /S/ Guy L. Womack
                                                    Guy L. Womack
